
375 So.2d 871 (1979)
R.J.K., Petitioner,
v.
STATE of Florida, Respondent.
No. OO-493.
District Court of Appeal of Florida, First District.
October 11, 1979.
Louis O. Frost, Jr., Public Defender, Duval County, Claudia T. Wright, Asst. Public Defender, for petitioner.
Jim Smith, Atty. Gen., Wallace E. Allbritton, Asst. Atty. Gen., for respondent.
LARRY G. SMITH, Judge.
Petitioner filed his petition for writ of habeas corpus attacking that portion of the sentence in his juvenile proceeding which provided for his commitment to the Department of Health and Rehabilitative Services "for an indeterminate period of time of not less than one year", etc. The same point was raised on appeal in B.J. v. State of Florida, 374 So.2d 1106 (1979). In that case the appellant argued and the State conceded that the trial court cannot commit a juvenile for a specific period of time.
Habeas corpus is available to secure relief from an illegal or improper sentence. 15 Florida Jurisprudence, "Habeas Corpus", § 44, and cases therein cited.
This cause is remanded to the trial court for the entry of an amended order of adjudication and commitment pursuant to the requirements of Section 39.11(1)(c), Florida Statutes (Supp. 1978).
McCORD, Acting C.J., and SHIVERS, J., concur.
